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             In the United States District Court Northern District illinois


Doris V Walker
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                                                                     IS T R IC T COURT
                                                          CLERK, U.S

                                                   1:23-cv-01746
V                                                  JUDGE KOCORAS
                                                   MAGISTRATE JUDGE VALDEZ
                                                   RANDOM


Air BnB                                                       Judge: Presiding

United States of America
Unknown employee



                                  Complaint for Discrimination
                                   Provisions under the civil
                                    rights act of 1961

Jurisdiction: Illinois Plaintiff is a resident of Illinois, there are no impediments to
the Defendant gaining access to the courts and justice will not be impeded by the
Defendant attending court in Illinois via zoom online. Airbnb does not have a
physical address in the United States or a business license that the Plaintiffs are
aware of.

Venue: The Federal District Court is the proper venue to sue internationally.

On January 1, 2023 the Plaintiff Doris V Walker filed this complaint for
damages against AirBnB.
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AirBnB
Is a company that lists vacation rentals. Airbnb locked me out of my account and
stated their reason is that they received a report that I did not own the properties
that I posted. They did not ask me first if I own the property, they did not conduct
a hearing, or request evidence. Air bnb the defendant simply locked the Plaintiff
out. The Defendant AirBnB stated in a memo before
locking me out that someone anonymously reported that the property does not
belong to me and stated I would have to wait 7 days before I can regain access.
This occurred on January 1,2023. I have attached all copies of my properties to
this complaint. The Defendant has displayed a racially motivated animus
towards the Plaintiff and has denied the Plaintiff access to the platform which is
a pattern that has been displayed when the Defendant intentionally locked the
Plaintiff out of the account and cited lies as the justification for not allowing the
Plaintiff to participate in the forum. This racially motivated animus is keeping
the plaintiff from being financially affluent. The Defendant by and through their
company has caused harm to the Plaintiff.




Count 1 Racism: The Defendant has caused the Plaintiff to lose time and money
in the denial of participation in the Platform for vacation rentals.

Count 2 Tortious Interference with Contractual Relations: The Defendant has
attempted to stop the Plaintiff from creating contracts and participating in the
free market

Count 3 Unfair and Deceptive Business Practices: AirBnB has openly lied about
the status of the ownership of the Plaintiffs property.

Conclusion:
Plaintiff has sought to remedy this situation before now to no avail. The Defendant
has injured the Plaintiff. The Defendant has a duty to be truthful in their
determinations and offer a remedy in the form of a hearing that allows evidentiary
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proceedings to determine who is lying. The Plaintiff now seeks redress in this court
because of the continuous harassment from online vendors due to the conspiracy of
employees in the United States Government, the employees identity has finally
been uncovered. Evidence will show that the platform has lied and that employees
working for the United States have continued to harass the Plaintiff by promoting
hatred, envy, jealousy, and lack of a purpose in life, by lying, stealing, paying and
employing hackers to enter my accounts and disrupt my business relations.




Exhibits are attached to this complaint.




Wherefore, The Plaintiff seeks damages under the law for all counts listed in this
complaint. Plaintiff seeks compensatory damages, punitive damages, any and all
statutory damages, and any damages under the Federal Law. The Plaintiff is
requesting a permanent injunction against the party responsible for sabotaging
my efforts to rent my properties and pay my maintenance fees on time.
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Exhibit Attached Hereto



Doris V Walker
/s/Doris V Walker
4235 Coral Berry Rd
Gurnee Illinois 60031
masonwalkerkid56@gmail.com
2243811192
